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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF PUERTO RICO

       IN RE:
                                                                        CASE NO. 18-05288 (EAG)
       SKYTEC, INC.
                                                                        CHAPTER 11
               DEBTOR



           STATEMENT REGARDING REQUIREMENTS OF SECTION 1129(a)

   TO THE HONORABLE COURT:

              COMES NOW Debtor, Skytec, Inc., (hereinafter the “Debtor”) through its

   undersigned Counsel, and in anticipation of the confirmation hearing, submits its

   statement regarding the requirements of §1129(a) of the Bankruptcy Code and how it

   will show during the confirmation hearing that its Plan of Reorganization (the "Plan"),

   as supplemented, complies with each of the requirements of said Section 1, as follows:

   1.         The Plan complies with the applicable provisions of Chapter 11 of the

   Bankruptcy Code. (§1129(a)(1))

              In compliance with the provisions of Section 1122 of the Bankruptcy Code, the

   Plan places all claims and interests in a particular class where they are substantially

   similar to the other claims or the interests of such class. (See Article III of the Plan).

              The Plan also complies with the provisions of §1123 of the Bankruptcy Code since:

                       (a)      It designates classes of claims and interests, and specifies, by

   class, the claims that are unimpaired. (See Articles III and IV of the Plan).

                       (b)      It also provides adequate means for its execution by indicating that

   except as otherwise may be agreed upon with Holders of Allowed Administrative

   Expense Claims, each such claimant shall receive in full satisfaction of its claim an

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       Capitalized terms will have the meaning indicated in the Plan.
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   amount in Cash equal to the Allowed amount thereof on the Effective Date of the Plan

   (the “Effective Date”). If Debtor or the Reorganized Debtor disputes any portion of an

   Administrative Expense Claim, Debtor or the Reorganized Debtor shall pay such Claim

   within thirty (30) days after the entry of a Final Order with respect to the allowance of

   such disputed Administrative Expense Claim. Debtor will reserve the necessary funds

   to meet these payments as indicated in Debtor’s cash flows projections attached to the

   Amended Disclosure Statement.

           Holders of Administrative Expense Claims and Priority Tax Claims are not

   classified in the Plan. However a description of these unclassified claims and the

   claims in each class, as well as the estimated principal amounts of each as of the

   Effective Date and their treatment, as set forth in the Plan. Administrative Expense

   Claims are generally the ordinary and necessary costs of administrating and operating

   during a Chapter 11 case.

                    (c)   It provides that Priority Tax Claims, secured and unsecured, if any,

   will be fully paid on the Effective Date.

                    (d)   It also provides for adequate means for its execution and payments

   for Classes 1, 2, 3, and 4, as detailed below, and set forth in Articles IV and V of the

   Plan.

                    (e)   It also designates the classes of claims and interests it proposes to

   impair or leave unimpaired; provides that all not assumed executory contracts or

   unexpired leases which (i) have not expired by their own terms on or prior to the

   Confirmation Date, shall be deemed assumed on the Effective Date, and the entry of

   the Confirmation Order shall constitute approval of such assumption pursuant to

   Sections 365(a) and 1123(b)(2) of the Bankruptcy Code. (See Article VIII of the Plan).
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                    (f)   The Plan provides for its implementation; for the effects of the

   Confirmation Order; for voting on the Plan and compliance with 11 U.S.C. §1129;

   conditions precedent to the Effective Date; for retention of jurisdiction by the Court;

   and for the amendment or modification of the Plan. (See Articles XI and XII of the

   Plan).

            2.      The proponent of the plan complies with the applicable

   provisions of Chapter 11. (§1129(a)(2))

            The proponent of the Plan is the Debtor herein, qualified to file a plan, as set forth

   in §1121. There are no other plans filed in this case. The Plan was filed on October 17,

   2019 (Docket No. 250). The Court approved a disclosure statement filed on December

   18, 2019 (Docket No. 293), through an order dated December 18, 2019 (Docket No. 294).

            After the approval of the disclosure statement, Debtor proceeded to solicit

   acceptance of the Plan to all its creditors. At the time of said solicitation, all of Debtor's

   creditors and others parties in interest were aware of the filing of the Plan and the

   approved disclosure statement.

            3.      The Plan has been proposed in good faith and not by any means

   forbidden by law. (§1129(a)(3))

            Debtor has revealed all of its assets to its creditors and submitted thereto

   sufficient financial information to enable it to make an informed decision concerning

   the Plan. (See Debtor’s Disclosure Statement).

            4.      Disclosure of payments, officers, insiders and professionals.

   (§1129(a)(4) and (5))
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           All payments for professional services, costs, and expenses in connection with

   the case have been disclosed to the Court. All payments for professional services

   requiring approval to date have been approved.

           5.       Rate/change approved by regulatory committee. (§1129(a)(6))

                    N/A.

           6.       Acceptances/best interest. (§1129(a)(7))

           Class 1 consists of the secured claims of Oriental Bank (“Oriental”). This Class

   is impaired under the Plan and entitled to vote to accept or reject the Plan. Oriental’s

   claim, secured by UCC filings over Debtor’s cash accounts, trade accounts receivable,

   inventories, intangibles, and substantially all of Debtor’s personal property, shall be

   paid in equal consecutive monthly payments of $12,786.49, with any arrears to be paid

   together with a balloon payment of any unpaid principal balance, due on December 31,

   2025. Oriental will retain its liens encumbering its collateral until the full payment of

   its allowed secured claim.

           Class 2 consists of the claims of the Holders of Pre-Petition Cure Claims

   against Debtor, arising from the assumption by Debtor of Unexpired Executory

   Contracts (“Pre-petition Cure Claims”). This Class is impaired under the Plan and

   entitled to vote to accept or reject the Plan. The Allowed Pre-Petition Cure will be paid

   as follows:

                    a) The claim of FirstBank consisting of a lease agreement secured by a
                       Ford     F250SD   4x4,   2018,   Plate   #991-208,   VIN     number
                       1FT7W2BT5JEB79043, will continue to be paid in accordance with
                       the contractual terms for this leasing, with monthly payments of
                       $1,003. Any arrears under this claim will be paid at the end of the
                       lease.
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                    b) The claim of FirstBank consisting of a lease agreement secured by an
                       Acura     MDX       2014,     Plate     #IFT-332,      VIN      number
                       5FRYD4H60EB009781, will continue to be paid in accordance with
                       the contractual terms for the lease, with monthly payments of $1,164.
                       Any arrears under this claim will be paid at the end of the lease.
                       c) McGRATH Rent Corp. (dba TRS-REN TELCO) lease for various
                       equipment will be paid in six (6) equal consecutive monthly
                       payments of $1,011.54, commencing on the Effective Date.
           Class 3 consists of the Holders of Allowed General Unsecured Claims. This

   Class is impaired under the Plan and entitled to vote to accept or reject the Plan. This

   Class shall be paid in full satisfaction of their claims, a pro-rata dividend in the total

   amount of $870,966.42 to be paid as follows:

       (i) $200,000 on the Effective Date to be paid from the capital contribution of the

       shareholders and;

       (ii) $670,966.42 in 36 monthly payments commencing on the Effective Date.

       The aforementioned $870,966.42 constitute a 20% dividend of the claims expected

   to be allowed as detailed in Exhibit C to the Disclosure Statement. Said dividend

   could be increased by the Plan Administrator depending on the avoidance actions that

   could be filed and Debtor’s actual cash receipts during the subject period of time. In

   the event that the allowed claims under this class increase, the first installment to be

   paid as of the Effective Date as well as the monthly payments, will be adjusted and

   paid on a pro-rata basis to the Holders of Allowed Claims under this Class.

           Class 4 consists of the Holders of the Equity Interest in Debtor. Class 4 is

   unimpaired under the Plan and is not entitled to vote to accept or reject the Plan. This

   Claim will not receive any distribution under the Plan but will retain its shares in

   Debtor unaltered.
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           7.       Effective Date of the Plan/Administration expenses/involuntary

   gap expenses /other priority claims/pre-petition taxes. (§1129(a)(9)). (See

   Exhibits A-D).

                    (a)    The Effective Date of the Plan shall mean the date which is sixty

   (60) days after the Confirmation Date, or if such date is not a Business Day, the next

   succeeding Business Day; provided, however, that if, as of such date, all conditions

   precedent to the occurrence of the Effective Date set forth in Article X of the Plan have

   not been satisfied or waived pursuant to Section 10.2 of the Plan, then the first

   Business Day immediately following the day upon which all such conditions have been

   satisfied or waived.

                    (b)    Allowed Administrative Expense Claims shall mean a Claim that

   is Allowed under Section 503(b) of the Bankruptcy Code and that is entitled to priority

   under Section 507(a)(1) of the Bankruptcy Code, including, without limitation (See

   Exhibit A):

                      i.   fees and expenses of Professionals Allowed pursuant to a Final

                           Order entered under Sections 330, 331, or 503 of the Bankruptcy

                           Code, and

                     ii.   all fees and charges assessed against Debtor pursuant to 28 U.S.C.

                           § 1930.

            Holders of Allowed Administrative Expense Claims, each such claimant shall

   receive in full satisfaction of its claim, an amount in Cash equal to the Allowed amount

   thereof on the Effective Date.

           8.       Acceptance by one Class.
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           Classes 1, 2 and 3, are impaired under the Plan, and as such, entitled to vote to

   accept or reject the Plan. Classes 1 and 2 have accepted the Plan. (See Exhibits B and

   C)

           Class 3 has rejected the Plan, primarily for the vote of only one dissenting

   creditor. (See Exhibit D)

           Class 4 is unimpaired, but is conclusively presumed to have accepted the Plan and

   is not entitled to vote to accept or reject the Plan.

           Since at least one class has accepted the Plan, Debtor will request

   confirmation of the Plan under the “cram down” provisions of Section

   1129(b)          of   the   Bankruptcy       Code,      which    permit      confirmation,

   notwithstanding non-acceptance by one or more impaired classes, if the

   Bankruptcy Court finds that the Plan does not discriminate unfairly

   against and is fair and equitable as to each non-accepting Class, as long as

   at least one class of impaired creditors votes to accept the Plan.

           9.        Feasibility of Plan (§1129(a)(11))

                     Debtor’s Plan is feasible. A Feasibility Report prepared by CPA Luis R.

   Carrasquillo was filed on January 22, 2020 at Docket No. 304.

           10.       Two or more plans. (§1129(c))

                     Only Debtor has proposed a plan.

           11.       Avoidance of taxes. (§1129(d))

                     No governmental entity, which is a party in interest, has requested that the

   Plan not be confirmed because it was proposed to avoid taxes or Section 5 of the

   Securities Act of 1933.
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           12.      Prohibition      on    issuing     non-voting        equity     securities.

   (§1123(a)(6))

                    Debtor’s Plan complies with 11 U.S.C. §1123(a)(6).

           13.      Discharge of debtor/discharge hearing. (§1141(d))

                    In the opinion of counsel, the order of confirmation will discharge from

   any debt or claim that arose before the date of the confirmation of the Plan and from

   any debt of a kind specified in 11 U.S.C. §502(g), (h), and (i).

           14.      Approval of proposed order of confirmation.

                    The order of confirmation will have the effects specified in paragraph 13

   above. It will make the Plan binding on Debtor and its creditors, whether or not they

   have accepted the Plan, and will vest all of the property of the estate in the Debtor, the

   same becoming free and clear of all claims and interests of creditors, except as otherwise

   provided for in the Plan or in the Order of Confirmation. Said Order will direct the

   Debtor to carry out the Plan and will enjoin all actions interfering with the

   implementation of the Plan and all creditors from in any way interfering therewith.

                    In confirming the Plan, the Court will expressly reserve jurisdiction to

   protect the confirmation decree, to prevent interference with the execution of the Plan,

   for the purpose of overseeing that the Plan is properly consummated. (See attached

   proposed Order).

           15.      Approval of proposed final decree.

                    On consummation of the Plan, the Court will enter a Final Decree which

   shall contain provisions (1) stating the effect of confirmation and consummation on the

   creditors; (2) making such provisions by way of injunction or otherwise as may be

   equitable; and (3) closing the estate. (See attached proposed Final Decree Order).
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           CERTIFICATE OF SERVICE: I hereby certify that on this same date, I

   electronically filed the foregoing with the Clerk of the Court using the CM/ECF system,

   which will send notification of such filing to the Office of the United States Trustee,

   and all CM/ECF participants.

           San Juan, Puerto Rico, this 27th day of January, 2020.

                                                    s/Alexis Fuentes-Hernández, Esq.
                                                    Alexis Fuentes-Hernández, Esq.
                                                    USDC-PR 217201
                                                    FUENTES LAW OFFICES, LLC
                                                    P.O. Box 9022726
                                                    San Juan, PR 00902-2726
                                                    Tel. (787) 722-5215, 5216
                                                    E-Mail: alex@fuentes-law.com
